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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ERIC SWALWELL,

       Plaintiff,

v.                                       Civil Case Number: 1:21-CV-586 APM

DONALD J. TRUMP, DONALD J.
TRUMP, JR., REPRESENTATIVE
MO BROOKS (Pro Se) & RUDOLPH
GIULIANI,

       Defendants.

                             BROOKS’ MOTION TO DISMISS

       Defendant Mo Brooks (“Brooks”) Moves to Dismiss Eric Swalwell’s Complaint

against Brooks in its entirety.

       Brooks’ Motion to Dismiss is pursuant to the Court’s suggestion in its Order of

February 18, 2022 (Document 66).

       As grounds for Brooks’ Motion to Dismiss, Brooks hereby incorporates by

reference the Court’s Order of February, 18, 2022 (Document 66) and the motions to

dismiss, supporting briefs and supporting evidence of defendants Donald J. Trump, Jr.,

and Rudolph Giuliani.

       Respectfully submitted Pro Se on February 22, 2022.


                                         Mo Brooks
                                         Morris Jackson “Mo” Brooks, Jr.
                                         Pro Se Defendant
                                         1000 New Jersey S.E., Unit 1208
                                         Washington, DC 20003
                                         256-656-2752



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                              CERTIFICATE OF SERVICE

       I certify that on February 22, 2022, I caused a copy of the foregoing to be filed
with the Clerk via email to DCDml_Intake@dcd.uscourts.gov, or the Pacer System,
which, as Brooks understands it, causes a copy to be sent to all counsel of record.


                                          Mo Brooks
                                          Morris Jackson “Mo” Brooks, Jr.
                                          Pro Se Defendant
                                          1000 New Jersey S.E., Unit 1208
                                          Washington, DC 20003
                                          256-656-2752




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